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                             UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF MAINE

ST. DOMINIC ACADEMY, a d/b/a of            )
the ROMAN CATHOLIC BISHOP OF               )
PORTLAND, et al.                           )
                                           )
            Plaintiffs,                    )
                                           )
                v.                         )          Civil Action No. 23-cv-00246-JAW
                                           )
A. PENDER MAKIN, in her personal           )
and official capacity as Commissioner of   )
the Maine Department of Education, et al., )
                                           )
            Defendants.                    )

              JOINT MOTION TO STAY SCHEDULING ORDER DEADLINES
                  WITH INCORPORATED MEMORANDUM OF LAW

         The parties jointly request that the Court stay all remaining scheduling order deadlines

pending resolution of plaintiffs’ Motion for Preliminary Injunction. In support, the parties state

as follows:

1.       Under the present scheduling order, the deadline to complete discovery and other related

deadlines are fast approaching. They are as follows:

     •   Deadline to complete discovery: February 27, 2024
     •   Deadline to file notice of intent to file motion for summary judgment and need for a pre-
         filing conference pursuant to Local Rule 56(h): March 5, 2024
     •   Deadline for filing dispositive motions and Daubert/Kumho motions:
         March 19, 2024
     •   Expected Trial Date: June 3, 2024

2.       Presently pending before this Court is plaintiffs’ Motion for Preliminary Injunction. The

Court’s resolution of that motion will directly affect discovery and related proceedings. It would

thus promote interests of efficiency to stay the above deadlines pending resolution of that

motion.
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3.     The parties have initiated discovery and understand that a stay of the scheduling order

deadlines will not prevent them from proceeding with discovery during the stay.

4.     Pursuant to Fed. R. Civ. P. 6(b)(1), the Court, for good cause shown, may extend a

deadline if a request is made before the original time or its extension expires.

       Wherefore, the parties respectfully request that all remaining scheduling order deadlines

be stayed pending resolution of plaintiffs’ Motion for Preliminary Injunction and that a new

scheduling order be issued after the Court decides that motion.

Dated: February 6, 2024

 /s/ Christopher C. Taub                              /s/ Adèle Auxier Keim
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                                 CERTIFICATE OF SERVICE

        I hereby certify that on this, the 6th day of February, 2024, I electronically filed the above

document with the Clerk of Court using the CM/ECF system which will send notification of such

filing to all counsel of record. To my knowledge, there are no non-registered parties or attorneys

participating in this case.

                                                      /s/ Christopher C. Taub
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